            Case 2:08-cr-00392-GEB Document 309 Filed 06/16/10 Page 1 of 2


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     Attorney at Law
 2   1007 7th Street, Suite 319
     Sacramento, CA 95814
 3   Telephone: 916-442-5230
 4   Attorney for:
     SARAH LANCASTER
 5
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )        CASE NO.    CR S-08-392 GEB
                                   )
11                  Plaintiff,     )        STIPULATION AND [PROPOSED] ORDER
                                   )        CONTINUING SENTENCING HEARING
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al,      )        DATE:    June 18, 2010
                                   )        TIME:    9:00 a.m.
14                  Defendants.    )        COURT:   Hon. Garland E. Burrell
     ______________________________)
15
16                                    Stipulation
17         The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for June 18, 2010, may be
19   continued to July 2, 2010, at 9:00 a.m.
20         Pursuant to the plea agreement, filed under seal with this Court,
21   the additional time is necessary before judgment and sentencing may be
22   pronounced.
23         The prosecutor has authorized defense counsel to sign this
24   stipulation on his behalf.
25   / /
26   / /
27   / /
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              Case 2:08-cr-00392-GEB Document 309 Filed 06/16/10 Page 2 of 2


 1   DATED: June 14, 2010                 LAWRENCE G. BROWN
                                          United States Attorney
 2
 3
                                    by    /s/ Scott Cameron, for
 4                                        Michael Beckwith
                                          Assistant U.S. Attorney
 5
 6   DATED: June 14, 2010
 7                                  by    /s/ Scott N. Cameron
                                          Scott N. Cameron
 8                                        Counsel for SARAH LANCASTER
 9
                                           Order
10
          Good cause appearing,
11
          The sentencing hearing scheduled for June 18, 2010, is continued
12
     to July 2, 2010, at 9:00 a.m.
13
14
          IT IS SO ORDERED.
15
16   Dated:     June 15, 2010

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18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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